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                                                              FILED: June 27, 2023


                     UNITED STATES COURT OF APPEALS
                         FOR THE FOURTH CIRCUIT

                              ___________________

                                   No. 23-4082
                           (1:23-mj-00032-LRV-RDA-1)
                               ___________________

UNITED STATES OF AMERICA

              Plaintiff - Appellee

v.

JAMES GORDON MEEK

              Defendant - Appellant

                              ___________________

                                JUDGMENT
                              ___________________

      In accordance with the decision of this court, the judgment of the district

court is affirmed.

      This judgment shall take effect upon issuance of this court's mandate in

accordance with Fed. R. App. P. 41.

                                       /s/ PATRICIA S. CONNOR, CLERK
